
654 S.E.2d 250 (2007)
Ronald CROCKER and Paulette Crocker as Co-Administrators of the Estate of Reagan Elizabeth Crocker
v.
H. Peter ROETHLING, M.D. and Wayne Women's Clinic, P.A.
No. 374PA07.
Supreme Court of North Carolina.
November 8, 2007.
Joe McLeod, William W. Aycock, Jr., Wade E. Byrd, Fayetteville, for Crocker.
Samuel G. Thompson, William Moss, Raleigh, for Roethling and Clinic.

ORDER
Upon consideration of the petition filed on the 2nd day of August 2007 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Allowed by order of the Court in conference, this the 8th day of November 2007."
Plaintiff shall forthwith submit an appeal bond to this Court, as provided by Appellate Rule 17(b). The bond may be in cash or by a written undertaking with good and sufficient surety in the sum of $250.00.
Therefore the case is docketed as of the date of this order's certification. Briefs of the respective parties shall be submitted to this Court within the times allowed and in the manner provided by Appellate Rule 15(g)(2).
